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                           UNITED STATES DISTRICT COURT

                                  DISTRICT OF OREGON


ADIDAS AMERICA, INC., and                            No. CV01-1655 KI (Lead Case)
ADIDAS-SALOMON AG,                                   Related Case CV03-1116 KI

                            Plaintiffs,              REPLY IN SUPPORT OF DEFENDANT'S
                                                     MOTION TO STRIKE THE RULE 26
       v.                                            REPORT OF DR. GERALD FORD

PAYLESS SHOESOURCE, INC.,                            By Defendant Payless ShoeSource, Inc.

                            Defendant.




REPLY IN SUPPORT OF DEFENDANT'S MOTION TO STRIKE THE RULE 26
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                                    I.          INTRODUCTION

       There are hundreds, if not thousands, of styles of shoes in the world that contain two or

four parallel stripes but look nothing alike. It would be impossible to identify, let alone describe,

all of these different shoes. Yet adidas' Memorandum in Opposition to Payless' Motion to Strike

the Rule 26 Report of Dr. Gerald Ford (the "Response") would have the Court believe that, so

long as a shoe contains two or four parallel stripes, it could be implicated as infringing adidas'

shoes through a simple stroke of Dr. Ford's pen. Under adidas' logic, it would not matter if the

shoe were blue or yellow, whether it had laces or Velcro, whether it had serrated stripes or

non-serrated stripes, whether it was made of leather or canvas, whether it had a steel toe or a

rubber toe, whether the stripes were single colored or multi-colored.. According to adidas, all

that matters are the stripes. Adidas believes that if the shoe has two or four stripes and Dr. Ford

says it reminds him of a shoe that he has previously surveyed, then Dr. Ford should be allowed to

offer testimony at trial that adidas should be awarded damages as a result of the shoe. According

to adidas, Dr. Ford should be allowed to offer such testimony even if the shoe on which he

conducted the survey does not look anything like the accused shoe or was even sold by the same

company as the accused shoe.

       Not surprisingly, Payless disagrees.            Payless believes that such testimony is highly

prejudicial and entirely unreliable and, as such should not be presented to a jury.

       This is but one of multiple aspects of adidas' Response that Payless believes warrants

rebuttal. However, the Court's Order setting an accelerated due date for adidas' Response

appears to indicate the Court's desire to bring the briefing on this issue to a quick conclusion. As

such, Payless has chosen to only address this single, critical issue in its reply. However, this


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should not be viewed as an indication by Payless that it agrees with Adidas' position on any of

the other issues addressed in its Response or that Payless believes its positions on those other

issues is any less valid than this issue discussed below.

                           II.     ARGUMENT AND AUTHORITY

A.     Adidas' "Shared Common Features" Argument Ignores The Multiple And Obvious
       Dissimilarities Between The 214 Payless Lots Accused Of Infringing Only Adidas'
       Three-Stripe Mark.

       Adidas' Response goes to great lengths to manipulate a single phrase – "shared common

features" – into an excuse for its failure to commission a survey from Dr. Ford or any other

expert on a single one of the 214 Payless lots that are accused only under adidas' Three Stripe

Mark claims. Adidas' efforts, however, do not withstand even basic scrutiny.

       Payless used the "shared common features" phrase in reference to the 37 Payless lots

accused by Adidas prior to the stay as infringing its alleged Superstar trade dress. The reason

Payless stated these lots shared common features can best be demonstrated by simply referring to

the photographs attached on Page 1 of Payless' Memorandum in Support of its Motion to Strike

Dr. Ford's Rule 26 Report (the "Memorandum"). Four of these thirty-seven lots are depicted on

that page, pictures which clearly reveal why Payless stated that these shoes share common

features. Had all thirty seven lots been depicted on this page (as they are in Exhibit C of the

Declaration of R. Cameron Garrison in support of the Memorandum ("Garrison Decl.")), all

thirty-seven lots would have demonstrated the same similarities. The point of Payless' "shared

common features" comment was that, while Payless disputes several aspects of the survey

Dr. Ford conducted on one of these thirty-seven lots, Payless at least acknowledges that the




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similarities, or "common features," of these lots made it arguably proper for Dr. Ford to conduct

a single survey on a single shoe and extrapolate those findings to each of those thirty-seven lots.

        Adidas, however, submits that this "shared common features" argument should also

extend to the 214 Payless lots that are accused only of infringing adidas' Three Stripe Mark and

not its alleged Superstar Trade Dress. Eight of these lots are depicted on Page 2 of Payless'

Memorandum. One need not be an expert in trademark surveys to observe that these shoes look

nothing like the alleged Superstar infringements depicted on page 1 of the Memorandum, nor, for

that matter, anything like one another. That same conclusion would be reached upon review of

pictures of each of these 214 Payless lots, which are included in Exhibit D to the Garrison Decl.

There is simply no logical support for adidas' attempt to extend Payless' "shared common

features" commentary regarding the similarities between the alleged-Superstar-infringing Payless

lots to these 214 unrelated lots.

        Adidas attempts to circumvent this problem by claiming that each of these 214 lots do

share one common feature – two or four parallel stripes angling forward from the sole to the

lacing area. Adidas argues that because each of these shoes has two or four stripes, and because

each of the shoes used in Dr. Ford's surveys in other cases also have two and four stripes, that

Dr. Ford should be able to attribute the findings of his surveys in those other non-Payless cases

to the 214 Payless lots in this case.

        Again, a simple review of the actual evidence proves the fallacy of adidas' claims.

Pictures of the ten non-Payless shoes used by Dr. Ford in surveys in other cases are contained on

pages 6 through 9 of the declaration he filed (Doc. #657) in support of adidas' Response. Those

ten non-Payless shoes are depicted next to Payless lots intended to best demonstrate why


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Dr. Ford should be allowed to extrapolate his findings in those other surveys to Payless shoes.

Yet even these pictures hand-selected by adidas fail to justify Dr. Ford's actions. The majority of

the Payless shoes are noticeably different than the third-party counterparts to which they are

being compared. And even those that do have some similarity to their third-party counterpart

are, with one exception, lots that are accused of infringing the alleged Superstar trade dress. If

Dr. Ford's declaration proves anything, it is just how improper it is for him to attempt to apply

his findings in those other cases to any of the Payless lots accused of infringing only the

Three-Stripe Mark.

       This fact is amplified when examining Exhibit D to the Garrison Decl. Exhibit D

contains each of the 231 Payless lots added to the case by adidas following the stay. When the

17 such lots that are accused of infringing the alleged Superstar trade dress are removed, the 214

lots accused of infringing only the Three-Stripe Mark remain. Comparison of these photographs

to the 10 non-Payless shoes in Dr. Ford's declaration perfectly illustrates Payless' position. The

vast majority of these shoes look absolutely nothing like the third-party shoes to which Dr. Ford

has sought to compare them.

       Moreover, adidas' own argument is undermined by the fact that it did conduct eleven

different surveys in these eleven different cases. If any shoe with two or four stripes had "shared

common features" such that it would be implicated by the results of any single survey on any

other shoe containing two or four stripes, then adidas would need only have commissioned a

single survey to apply to all of these eleven different cases. Under adidas' logic, the results of

the survey conducted on a Payless four-stripe shoe in 2002 could have been extrapolated to any

two or four stripe shoe made by any other company. If that were indeed the case, why would


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adidas have gone to the trouble – and apparently over $1,000,000 in expense – to commission ten

additional surveys in ten other cases? Quite obviously, it would not have. Adidas is grasping at

straws to justify its failure to conduct the requisite surveys in this case.

B.      Adidas Has Failed To Even Attempt To Refute The Fact That Dr. Ford Failed To
        Consider In Any Way 109 Of the Accused Lots.

        On page 11 of its Memorandum, Payless noted that Dr. Ford's report contained no

mention at all of 109 of the lots that have been accused by Adidas in this case. Dr. Ford did not

even try to include these lots in his misguided attempt to use surveys from other cases to

somehow implicate Payless' shoes, choosing instead to ignore these lots altogether. Adidas has

now replicated Dr. Ford's omission, neglecting to offer even a single sentence refuting this fact in

its Response. Adidas has obviously acknowledged Dr. Ford's failure in this regard. As a result,

at a very minimum, Dr. Ford should be precluded from offering any testimony at trial on any of

these 109 lots.




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                                      III.      CONCLUSION

       Adidas’ after-the-fact attempts to justify Dr. Ford's failure to conduct any survey at all

addressing 214 of the accused Payless lots must not stand. Dr. Ford's survey should be stricken,

and Dr. Ford prevented from offering any testimony at all regarding the 108 accused lots which

he has attempted to implicate through adoption of surveys and reports conducted in other cases.

Moreover, Dr. Ford should be further barred form offering any testimony regarding the 109

accused lots that his report fails to address in any way.

       DATED: October 30, 2007

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